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 13                          UNITED STATES BANKRUPTCY COURT FOR

 14            THE CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION

 15

 16   In re:                                       Case No. 9:19-bk-11573-MB

 17   HVI CAT CANYON INC.,                         Chapter 11

 18                       Debtor.                  RESPONSE OF UBS AG, LONDON
                                                   BRANCH IN SUPPORT OF
 19                                                APPLICATIONS OF OFFICIAL
                                                   COMMITTEE OF UNSECURED
 20                                                CREDITORS TO EMPLOY COUNSEL
                                                   AND FINANCIAL ADVISOR
 21
                                                   Hearing
 22                                                Date: October 28, 2019
                                                   Time: 11:00 a.m.
 23                                                Place: Courtroom 201
 24                                                        1415 State Street
                                                           Santa Barbara, California 93101
 25

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  1           UBS AG, London Branch (“UBS”) supports the Official Committee Unsecured Creditors’
  2   (the “Committee”) applications to employ Pachulski Stang Ziehl & Jones LLP as counsel1 and
  3   Conway MacKenzie, Inc. as financial advisor.2 Although UBS understands the concerns raised by
  4   the California State Lands Commission (the “Commission”) in its limited objections3 to the
  5   applications, they do not present any basis to deny retention of professionals that are indisputably
  6   well qualified to advise the Committee in the discharge of its fiduciary duties.
  7           UBS certainly agrees that the appointment of a Chapter 11 Trustee in this case is necessary,
  8   appropriate and supported by ample cause. But as noted by the Committee in its reply to the
  9   Commission’s limited objections4, the appointment of a Chapter 11 Trustee will not dissolve the
 10   Committee. Nor will it diminish the vital role that the Committee may serve in this proceeding or
 11   render it superfluous. The Bankruptcy Code mandated the formation of the Committee to represent
 12   the interests of all unsecured creditors of the estate. See 11 U.S.C. § 1102(a)(1). Nothing in the
 13   Bankruptcy Code indicates that the Committee is to be disbanded or left without advisors following
 14   the appointment of a Chapter 11 Trustee. While actions taken by a potential Chapter 11 Trustee
 15   and the interests of the Committee’s constituents would likely align in most instances, the Chapter
 16   11 Trustee is not intended to act without the balance of the Committee. In circumstances where
 17   those interests do not align, it will be imperative for the Committee to have an opportunity to
 18   intervene and advance the interests of unsecured creditors.
 19           Moreover, in many cases an unsecured creditors’ committee may provide critical input that
 20
      1
               See Application for an Order Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones
 21   LLP as Counsel for the Official Committee of Unsecured Creditors, Effective as of August 15, 2019 [Docket No. 214].
      2
               See Application of the Official Committee of Unsecured Creditors Pursuant to Sections 328(a), 330 and 1103
 22   of the Bankruptcy Code, Federal Rules of Bankruptcy Procedure 2014(a) and 2016, and Local Rules 2014-1 and 2016-
      1 for Authorization to Retain and Employ Conway MacKenzie, Inc. as Financial Advisor, Effective as of August 16,
 23   2019 [Docket No. 219].
      3
               See California State Lands Commission’s Limited Objection to Application For Order Authorizing and
 24   Approving the Employment of Pachulski Stang Ziehl & Jones LLP as Counsel for the Official Committee of Unsecured
      Creditors, Effective as of August 16, 2019 [Docket No. 346]; California State Lands Commission’s Limited Objection
 25   to Application of the Official Committee of Unsecured Creditors for Authorization to Retain and Employ Conway
      Mackenzie, Inc. as Financial Advisor, Effective as of August 16, 2019 [Docket No. 347].
      4
               See Reply of the Official Committee of Unsecured Creditors to: (1) California State Lands Commission’s
 26   Limited Objection to Application for Order Authorizing and Approving the Employment of Pachulski Stang Ziehl &
      Jones LLP as Counsel for the Official Committee of Unsecured Creditors, Effective As of August 16, 2019 [Docket No.
 27   346]; and (2) California State Lands Commission’s Limited Objection to Application of the Official Committee of
      Unsecured Creditors for Authorization to Retain and Employ Conway Mackenzie, Inc. as Financial Advisor, Effective
 28   as of August 16, 2019 [Docket No. 347] [Docket No. 392].
                                                              2
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  1   enhances the position of unsecured creditors and fosters the reorganization process. Here, the
  2   Committee has played a significant part in many of the key matters implicated in this case to date,
  3   such as supporting the transfer of venue and appointment of a Chapter 11 Trustee. To make these
  4   contributions, however, the Committee had to obtain representation by able counsel and advisors
  5   in the first place as permitted by the Bankruptcy Code. See 11 U.S.C. § 1103(a) (the “committee
  6   may select and authorize the employment by such committee of one or more attorneys, accountants,
  7   or other agents, to represent or perform services for such committee.”); see also In re Caldor, Inc.,
  8   193 B.R. 165, 170 (Bankr. S.D.N.Y. 1996) (“Public policy favors permitting parties to retain
  9   professionals of their choice.”) (citing cases).
 10           Realistically, the Committee’s ability to continue participating in this manner hinges on
 11   maintaining representation by the same professionals that through the applications it now seeks
 12   formal authorization to employ. Indeed, it is unlikely that the Committee can properly function
 13   and satisfy its statutory duties to unsecured creditors without the advice and guidance of those
 14   professionals, much less have a meaningful voice on matters raised in this case. Because of their
 15   own particular interests, other parties cannot provide the representation of all unsecured creditors
 16   that Congress vested in the Committee. Just as one would not reasonably expect UBS—which also
 17   appears to hold a very large unsecured deficiency claim—to represent all unsecured creditors,
 18   neither can the Commission. As the Commission has noted, it not only holds a large unsecured
 19   claim, but has independent regulatory responsibilities. Like UBS’s secured claim, those regulatory
 20   responsibilities may come into tension with the interests of unsecured creditors. The Committee is
 21   needed to protect the interests of unsecured creditors in this process.
 22           The Commission does not seem to dispute that the Committee needs professional
 23   representation or that the professionals it seeks to employ are exceptionally qualified. Instead, the
 24   Commission asserts that some of the services rendered by the Committee’s professionals could
 25   duplicate work performed by a Chapter 11 Trustee in the future. Even if that type of prospective,
 26   hypothetical overlap of services were to materialize eventually, it is not a basis to deny the
 27   Committee’s applications to employ its proposed counsel and financial advisor. Rather, the
 28   Commission will have ample opportunity to raise the issue in objections to any fee applications
                                                   3
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  1   submitted by the Committee’s professionals that request compensation for services that the
  2   Commissions believes are duplicative of those provided by a Chapter 11 Trustee. See 11 U.S.C. §
  3   330(a)(4)(A)(i) (bankruptcy court should not allow compensation for “unnecessary duplication of
  4   services”).
  5           For the reasons set forth above, the Court should overrule the Commission’s limited
  6   objections and grant the Committee’s applications to employ Pachulski Stang Ziehl & Jones LLP
  7   and Conway MacKenzie, Inc. The Committee is entitled to professional representation and its
  8   proposed counsel and financial advisor are exceptionally well suited to advise the Committee in
  9   this case.
 10

 11           Dated: October 15, 2019

 12                                                     EVAN M. JONES
                                                        BRIAN M. METCALF
 13                                                     DARREN L. PATRICK
                                                        GARY SVIRSKY
 14                                                     SAMANTHA INDELICATO
                                                        O’MELVENY & MYERS LLP
 15

 16
                                                        By:    /s/ Brian M. Metcalf
 17                                                                  Brian M. Metcalf
 18                                                     Attorneys for UBS AG, London Branch
 19

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  1                              PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of eighteen and not a party to this bankruptcy case or adversary proceeding.
  3   My business address is 400 South Hope Street, Los Angeles, California 90071-2899.
  4   A true and correct copy of the foregoing document entitled RESPONSE OF UBS AG,
      LONDON BRANCH IN SUPPORT OF APPLICATIONS OF OFFICIAL COMMITTEE
  5   OF UNSECURED CREDITORS TO EMPLOY COUNSEL AND FINANCIAL ADVISOR
      will be served or was served (a) on the judge in chambers in the form and manner required by
  6   LBR 5005-2(d); and (b) in the manner indicated below:
  7   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):
      Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
  8   document will be served by the court via NEF and hyperlink to the document. On October 15,
      2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
  9   determined that the following person(s) are on the Electronic Mail Notice List to receive NEF
      transmission at the email address(es) indicated below:
 10
              Alicia Clough aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com
 11
              Marc S Cohen mscohen@loeb.com, klyles@loeb.com
 12           Karl J Fingerhood karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov
 13           Brian D Fittipaldi brian.fittipaldi@usdoj.gov
              Karen L Grant kgrant@silcom.com
 14
              Ira S Greene Ira.Greene@lockelord.com
 15           Matthew C. Heyn Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com
 16           Brian L Holman b.holman@musickpeeler.com
              Razmig Izakelian razmigizakelian@quinnemanuel.com
 17
              Jeannie Kim jkim@friedmanspring.com
 18           Michael L Moskowitz mlm@weltmosk.com,
              jg@weltmosk.com;aw@weltmosk.com
 19
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 20           Jeffrey N Pomerantz jpomerantz@pszjlaw.com
 21           Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
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 24           eau@snowspencelaw.com
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 26           Jennifer Taylor jtaylor@omm.com
 27           Fred Whitaker lshertzer@cwlawyers.com
              Emily Young pacerteam@gardencitygroup.com,
 28           rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
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  1
      II. SERVED BY OVERNIGHT FEDEX: On October 15,2019, I served the following
  2   person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or adversary
      proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
  3   Mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
      declaration that mailing to the judge will be completed no later than 24 hours after the document
  4   is filed.
  5   DEBTOR:
  6   HVI Cat Canyon, Inc.
      c/o Capitol Corporate Services, Inc.
  7
      36 S. 18th Avenue Suite D
  8   Brighton, CO 80601

  9   ATTORNEYS FOR DEBTOR:
 10   Weltman & Moskowitz, LLP
      Attn: Michael L. Moskowitz
 11   270 Madison Ave., Ste. 1400
      New York, NY 10016-0601
 12

 13

 14   III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
      TRANSMISSION OR EMAIL (indicate method for each person or entity served):
 15   Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 15, 2019 I served the following
      person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
 16   consented in writing to such service method), by facsimile transmission and/or email as
      follows. Listing the judge here constitutes a declaration that personal delivery on the judge
 17
      will be completed no later than 24 hours after the document is filed.
 18
      JUDGE:
 19
      Hon. Martin R. Barash
 20   United States Bankruptcy Court
      Central District of California
 21   21041 Burbank Boulevard, Suite 342 / Courtroom 303
      Woodland Hills, CA 91367
 22
      I declare under penalty of perjury under the laws of the United States of America that the
 23   foregoing is true and correct.

 24   Executed this 15 day of October, 2019, at Los Angeles, California.

 25

 26
                                                                  /s/ Lee Lattin
 27                                                               Lee Lattin

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                                                       6
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